                       Case 19-55207-sms                  Doc 20         Filed 05/30/19 Entered 05/30/19 15:11:32                             Desc Main
                                                                        Document      Page 1 of 16
 Fill in this information to identify your case:
 Debtor 1               Delmar                            Edward                    DeBose
                        First Name                        Middle Name               Last Name
 Debtor 2
 (Spouse, if filing)    First Name                        Middle Name               Last Name

 United States Bankruptcy Court for the:         Northern                     District of Georgia
                                                                                          (State)
 Case number            19-55207
 (If known)
                                                                                                                                                 Check if this is an
Official Form 106A/B                                                                                                                             amended filing

Schedule A/B: Property                                                                                                                                                 12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.
 Part 1:       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2
                Yes. Where is the property?
                                                                     What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.1                                                                 Single-family home                           the amount of any secured claims on Schedule D:
                Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                                                                        Duplex or multi-unit building
                                                                        Condominium or cooperative                   Current value of the     Current value of the
                                                                                                                     entire property?         portion you own?
                                                                        Manufactured or mobile home
                                                                        Land
                Number         Street                                                                                Describe the nature of your ownership
                                                                        Investment property
                                                                                                                     interest (such as fee simple, tenancy by
                                                                        Timeshare                                    the entireties, or a life estate), if known.
                City                 State          Zip Code            Other
                                                                                                                         Check if this is community property
                                                                     Who has an interest in the property? Check          (see instructions)
                                                                     one.
                                                                        Debtor 1 only
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:
      If you own or have more than one, list here:
                                                                     What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.2                                                                 Single-family home                           the amount of any secured claims on Schedule D:
                Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                                                                        Duplex or multi-unit building
                                                                        Condominium or cooperative                   Current value of the     Current value of the
                                                                                                                     entire property?         portion you own?
                                                                        Manufactured or mobile home
                                                                        Land
                Number         Street                                                                                Describe the nature of your ownership
                                                                        Investment property
                                                                                                                     interest (such as fee simple, tenancy by
                                                                        Timeshare                                    the entireties, or a life estate), if known.
                City                 State          Zip Code            Other
                                                                                                                         Check if this is community property
                                                                     Who has an interest in the property? Check          (see instructions)
                                                                     one.
                                                                        Debtor 1 only
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:



   Official Form 106A/B                                                       Schedule A/B: Property                                                     page 1


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 Debtor 1 Delmar                                  Edward                         DeBose                            Case number (if known) 19-55207
              First Name                          Middle Name                    Last Name

                                                                 What is the property? Check all that apply.                       Do not deduct secured claims or exemptions. Put
 1.3                                                                  Single-family home                                           the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                          Creditors Who Have Claims Secured by Property.
                                                                      Duplex or multi-unit building
                                                                      Condominium or cooperative                                   Current value of the     Current value of the
                                                                                                                                   entire property?         portion you own?
                                                                      Manufactured or mobile home
                                                                      Land
       Number              Street                                                                                                  Describe the nature of your ownership
                                                                      Investment property
                                                                                                                                   interest (such as fee simple, tenancy by
                                                                      Timeshare                                                    the entireties, or a life estate), if known.
       City                     State         Zip Code                Other

                                                                                                                                        Check if this is community property
                                                                 Who has an interest in the property? Check one.                        (see instructions)
                                                                      Debtor 1 only
                                                                      Debtor 2 only
                                                                      Debtor 1 and Debtor 2 only
                                                                      At least one of the debtors and another
                                                                                   Other information you wish to add about this item, such as local
                                                                                   property identification number:
   2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here.
   ...................................................................................................


Part 2:       Describe Your Vehicles
Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
        No
        Yes
       3.1 Make                              Cadillac                  Who has an interest in the property? Check                   Do not deduct secured claims or exemptions. Put
           Model:                             ATS                      one.                                                         the amount of any secured claims on Schedule D:
           Year:                             2015                           Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
           Approximate mileage:              52000
                                                                            Debtor 2 only                                           Current value of the    Current value of the
              Other information:                                            Debtor 1 and Debtor 2 only                              entire property?        portion you own?
              2013 Cadillac ATS                                                                                                     $14600.00               $14600.00
                                                                            At least one of the debtors and another

                                                                          Check if this is community property (see
                                                                          instructions)
       3.2 Make                                                        Who has an interest in the property? Check                   Do not deduct secured claims or exemptions. Put
           Model:                                                      one.                                                         the amount of any secured claims on Schedule D:
           Year:                                                          Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                             Debtor 2 only                                           Current value of the    Current value of the
              Other information:                                            Debtor 1 and Debtor 2 only                              entire property?        portion you own?
                                                                            At least one of the debtors and another
                                                                            Check if this is community property (see
                                                                            instructions)




  Official Form 106A/B                                                            Schedule A/B: Property                                                                page 2
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Debtor 1 Delmar                                      Edward                           DeBose                             Case number (if known) 19-55207
             First Name                              Middle Name                      Last Name
       3.3 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
       3.4 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
4      Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
            No
            Yes
       4.1 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
       4.2 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
    5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                               $14600.00
    you have attached for Part 2. Write that number here ...................................................................................................




    Official Form 106A/B                                                              Schedule A/B: Property                                                                page 3
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Debtor 1 Delmar                                        Edward                              DeBose                               Case number (if known) 19-55207
            First Name                                 Middle Name                         Last Name

Part 3:    Describe Your Personal and Household Items
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                portion you own?
                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                 or exemptions.
 6. Household goods and furnishings
  Examples: Major appliances, furniture, linens, china, kitchenware
   No
   Yes. Describe...           Furniture, Appliances, Etc.                                                                                                         $1200.00

 7. Electronics
  Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
   No
   Yes. Describe...           Electronics                                                                                                                         $350.00

 8. Collectibles of value
  Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   No
   Yes. Describe...

 9. Equipment for sports and hobbies
  Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
            and kayaks; carpentry tools; musical instruments
   No
   Yes. Describe...

 10. Firearms
  Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   No
   Yes. Describe...

 11. Clothes
  Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   No
   Yes. Describe...           Clothes                                                                                                                             $500.00

 12. Jewelry
  Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
            gold, silver
   No
   Yes. Describe...           Jewelry                                                                                                                             $250.00

 13. Non-farm animals
  Examples: Dogs, cats, birds, horses
   No
   Yes. Describe...

 14. Any other personal and household items you did not already list, including any health aids you did not list
   No
   Yes. Describe...

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                   $2300.00
 for Part 3. Write that number here ..........................................................................................................................




 Official Form 106A/B                                                                      Schedule A/B: Property                                                                      page 4
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Debtor 1 Delmar                                           Edward                                 DeBose                    Case number (if known) 19-55207
          First Name                                      Middle Name                            Last Name

Part 4:   Describe Your Financial Assets
                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?                                                                                  portion you own?
                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                             or exemptions.
16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
          No
          Yes ....................................................................................................
                                                                                                   Cash: .................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
       and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
                                                                                          Institution name:
          Yes

                                        17.1. Checking account:                           Sun Trust                                                          $300.00

                                        17.2. Checking account:
                                        17.3. Savings account:                            Sun Trust                                                          $5.00
                                        17.4. Savings account:

                                        17.5. Certificates of deposit:

                                        17.6. Other financial account:

                                        17.7. Other financial account:

                                        17.8. Other financial account:

                                        17.9. Other financial account:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
          No
                                        Institution or issuer name:
          Yes




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture
          No
                                        Name of entity                                                                    % of ownership:
          Yes. Give specific
          information about
          them




 Official Form 106A/B                                                                            Schedule A/B: Property                                                      page 5
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Debtor 1 Delmar                               Edward                   DeBose                      Case number (if known) 19-55207
         First Name                           Middle Name              Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
          No
          Yes. Give specific
          information about    Issuer name:
          them.....




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
          No
                               Type of account:                   Institution name:
          Yes. List each
          account              401(k) or similar plan:            Fedelity                                                           $4000.00
          separately.
                               Pension plan:

                               IRA:

                               Retirement account:

                               Keogh:

                               Additional account:

                               Additional account:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
        No                                                    Institution name:
          Yes....              Electric:

                               Gas:

                               Heating oil:

                               Security deposit on rental unit:

                               Prepaid rent:

                               Telephone:

                               Water:

                               Rented furniture:

                               Other:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
          No
                               Issuer name and description:
          Yes....




 Official Form 106A/B                                                  Schedule A/B: Property                                                   page 6
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Debtor 1 Delmar                             Edward                     DeBose                        Case number (if known) 19-55207
         First Name                         Middle Name                Last Name
24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
          No
                      Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
          Yes....




25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
      exercisable for your benefit
          No
          Yes. Describe...


26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
          No
          Yes. Describe...


27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
          No
          Yes. Describe...



Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.
28. Tax refunds owed to you
         No
         Yes. Give specific information                                                                           Federal:               $0.00
              about them, including whether
              you already filed the returns                                                                       State:                 $0.00
              and the tax years..............
                                                                                                                  Local:                 $0.00
29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
         No
                                                                                                                  Alimony:               $0.00
         Yes. Give specific information......
                                                                                                                  Maintenance:           $0.00

                                                                                                                  Support:               $0.00

                                                                                                                  Divorce settlement:    $0.00

                                                                                                                  Property settlement:   $0.00
30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
         No
         Yes. Describe...




 Official Form 106A/B                                                   Schedule A/B: Property                                                        page 7
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Debtor 1 Delmar                                       Edward                            DeBose                               Case number (if known) 19-55207
            First Name                                Middle Name                       Last Name
31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
                                                                      Company name:                                                        Beneficiary:             Surrender or refund value:
            Yes. Name the insurance company
            of each policy and list its value.....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
            No
            Yes. Describe...


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe...


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
            No
            Yes. Describe...


35. Any financial assets you did not already list
            No
            Yes. Describe...



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                         $4305.00
    for Part 4. Write that number here ................................................................................................................




Part 5:     Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37. Do you own or have any legal or equitable interest in any business-related property?
            No. Go to Part 6.                                                                                                                                  Current value of the
                                                                                                                                                               portion you own?
            Yes. Go to line 38.                                                                                                                                Do not deduct secured claims
                                                                                                                                                               or exemptions
38. Accounts receivable or commissions you already earned
            No
            Yes. Describe...


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
            No
            Yes. Describe...




 Official Form 106A/B                                                                    Schedule A/B: Property                                                               page 8
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 Debtor 1 Delmar                                          Edward                              DeBose                                Case number (if known) 19-55207
              First Name                                  Middle Name                         Last Name
 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
              No
              Yes. Describe...


 41. Inventory
              No
              Yes. Describe...


 42. Interests in partnerships or joint ventures
              No
                                                                           Name of entity:                                                         % of ownership:
              Yes. Give specific
              information about
              them



 43. Customer lists, mailing lists, or other compilations
              No
              Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                           No
                           Yes. Describe........

 44. Any business-related property you did not already list
              No
              Yes. Give specific
              information .......




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here ...............................................................................................................................................

 Part 6:      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.

 46.     Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.                                                                                                                                                     Current value of the
                                                                                                                                                                                     portion you own?
               Yes. Go to line 47.                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                     or exemptions
 47.     Farm animals
         Examples: Livestock, poultry, farm-raised fish
               No
               Yes. Describe...




   Official Form 106A/B                                                                        Schedule A/B: Property                                                                              page 9
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 Debtor 1 Delmar                                          Edward                               DeBose                                Case number (if known) 19-55207
              First Name                                  Middle Name                          Last Name
 48.     Crops-either growing or harvested
               No
               Yes. Describe...


 49.     Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
               No
               Yes. Describe...


 50.     Farm and fishing supplies, chemicals, and feed
               No
               Yes. Describe...


 51.     Any farm- and commercial fishing-related property you did not already list
               No
               Yes. Describe...



52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here .................................................................................................................................




 Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above
 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
              No
              Yes. Give specific
              information




54. Add the dollar value of all of your entries from Part 7. Write that number here ...........................................................................




 Part 8:      List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ...........................................................................................................................................

 56. part 2 total vehicles, line 5                                                                 $14600.00
 57.Part 3: Total personal and household items, line 15                                            $2300.00
 58.Part 4: Total financial assets, line 36                                                        $4305.00
 59. Part 5: Total business-related property, line 45
 60. Part 6: Total farm- and fishing-related property, line 52

 61. Part 7: Total other property not listed, line 54

 62. Total personal property. Add lines 56 through 61. ....................
                                                                                                   $21205.00                                                                            + $21205.00
                                                                                                                                             Copy personal property total

                                                                                                                                                                                        $21205.00
 63.Total of all property on Schedule A/B. Add line 55 + line 62..........................................................................................


   Official Form 106A/B                                                                        Schedule A/B: Property                                                                       page 10
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 Fill in this information to identify your case:
 Debtor 1               Delmar                      Edward                DeBose
                        First Name                  Middle Name           Last Name
 Debtor 2
 (Spouse, if filing)    First Name                  Middle Name           Last Name

 United States Bankruptcy Court for the:     Northern                District of Georgia
                                                                                 (State)
 Case number            19-55207
 (If known)
                                                                                                                                                 Check if this is an
Official Form 106Dec                                                                                                                             amended filing


Declaration About an Individual Debtor's Schedules                                                                                                           12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.

 Part 1:       Sign Below

       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

              Yes. Name of person                                          Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                           Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

 û Signature
    /s/ Delmar DeBose
             of Debtor 1
                                                                                  û Signature of Debtor 2
       Date 5/30/2019                                                                  Date
            MM/DD/YYYY                                                                        MM/DD/YYYY




   Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules                                        page 1


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 Fill in this information to identify your case:
 Debtor 1               Delmar                                  Edward                           DeBose
                        First Name                              Middle Name                      Last Name
 Debtor 2
 (Spouse, if filing)    First Name                              Middle Name                      Last Name

 United States Bankruptcy Court for the:              Northern                            District of Georgia
                                                                                                      (State)
 Case number            19-55207
 (If known)
                                                                                                                                                                             Check if this is an
                                                                                                                                                                             amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


 Part 1:       Summarize Your Assets

                                                                                                                                                        Your assets
                                                                                                                                                        Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                 $0.00
     1a. Copy line 55, Total real estate, from Schedule A/B .....................................................................................
                                                                                                                                                                 $21,205.00
      1b. Copy line 62, Total personal property, from Schedule A/B ..........................................................................

                                                                                                                                                                 $21,205.00
      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................


 Part 2:       Summarize Your Liabilities

                                                                                                                                                        Your liabilities
                                                                                                                                                        Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                 $20,900.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)                                                                                     $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................
                                                                                                                                                                 $130,023.00
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ........................

                                                                                                                             Your total liabilities              $150,923.00



 Part 3:       Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                 $2,376.75
     Copy your combined monthly income from line 12 of Schedule I .........................................................................

 5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                 $1,911.00
     Copy your monthly expenses from line 22, Column A, of Schedule J................................................................




  Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                             page 1


                                                                                                                                    Doc ID: 62e5b89f7ddf1928fdb13a1ad7f53951816461ca
                 Case 19-55207-sms                    Doc 20     Filed 05/30/19 Entered 05/30/19 15:11:32                                   Desc Main
                                                                Document     Page 13 of 16
Debtor 1 Delmar                              Edward                    DeBose                       Case number (if known) 19-55207
            First Name                       Middle Name               Last Name

Part 4:    Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes.

7. What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal,
          family, or household purpose. 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official                                  $2,709.08
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

     From Part 4 on Schedule E/F, copy the following:                                                         Total claim


     9a. Domestic support obligations (Copy line 6a.)                                                         $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                $0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                      $0.00

     9d. Student loans. (Copy line 6f.)                                                                       $116,938.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as              $0.00
     priority claims. (Copy line 6g.)
                                                                                                              $0.00
     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)

     9g. Total. Add lines 9a through 9f.                                                                      $116,938.00




 Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                                  page 2
                                                                                                         Doc ID: 62e5b89f7ddf1928fdb13a1ad7f53951816461ca
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                                  Document     Page 14 of 16




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                       {              CHAPTER 13
                                             {
Delmar Edward Debose                         {              CASE NO. 19-55207-SMS
                                             {
                                             {
               Debtor.                       {              JUDGE: Sage M Sigler


                                  CERTIFICATE OF SERVICE
        I hereby certify that I am more than 18 years of age and that I have this day served a
copy of the within amended schedules upon the following by depositing a copy of the same in
U.S. Mail with sufficient postage affixed thereon to ensure delivery:

                                   Delmare Edward Debose
                                   3765 High Point Lane SW
                                      Atlanta, GA 30331

                                      Mary Ida Townson
                                      Chapter 13 Trustee
                                          Suite 2200
                                    191 Peachtree Street, NE
                                    Atlanta, GA 30303-1740


Dated: May 30, 2019
                                                    /s / Emily Allen
                                                    Emily Allen
                                                    Attorney for the Debtor
                                                    GA Bar No.: 264387
                                                    The Semrad Law Firm, LLC
                                                    303 Perimeter Center North
                                                    Suite 201
                                                    Atlanta, GA 30303
                                                    (678)668-7165
               Case 19-55207-sms           Doc 20   Filed 05/30/19           Entered 05/30/19 15:11:32      Desc Main
Label Matrix for local noticing                ASSOCIATED
                                                  DocumentCREDIT UNIOPage 15 of 16            Emily Camille Allen
113E-1                                         6251 CROOKED CREEK RD                          The Semrad Law Firm
Case 19-55207-sms                              NORCROSS, GA 30092-3107                        303 Perimeter Center North, #201
Northern District of Georgia                                                                  Atlanta, GA 30346-3425
Atlanta
Thu May 30 15:03:40 EDT 2019
Associated Credit Union c/o                    Atlas Acquisitions LLC                         (p)CAPITAL ONE
Thompson, O’Brien, Kemp & Nausuti, P.C.        294 Union St.                                  PO BOX 30285
40 Technology Pkwy. S                          Hackensack, NJ 07601-4303                      SALT LAKE CITY UT 84130-0285
Suite 300
Peachtree Corners, GA 30092-2924

Capital One Bank (USA), N.A.                   Delmar Edward DeBose                           Department of Justice, Tax Division
by American InfoSource as agent                3765 High Point Lane SW                        75 Ted Turner Drive SW
4515 N Santa Fe Ave                            Atlanta, GA 30331-7906                         Civil Trial Section, Southern
Oklahoma City, OK 73118-7901                                                                  Atlanta, GA 30303-3315


FIRST PREMIER BANK                             FST PREMIER                                    GA STND FIN
c/o Jefferson Capital Systems LLC              601 S Minneapolis Ave                          2082 E EXCHANGE PLACE
c/o Linda Dold                                 Sioux Falls, SD 57104                          TUCKER, GA 30084-5334
PO Box 7999
Saint Cloud, MN 56302-7999

(p)GEORGIA DEPARTMENT OF REVENUE               Internal Revenue Service                       Internal Revenue Service - Atl
COMPLIANCE DIVISION                            P.O. Box 7346                                  401 West Peachtree St NW Room 1665
ARCS BANKRUPTCY                                Philadelphia, PA 19101-7346                    ATTN: Ella Johnson, M/S 334-D
1800 CENTURY BLVD NE SUITE 9100                                                               Atlanta, GA 30308
ATLANTA GA 30345-3202

LVNV FUNDING LLC                               LVNV Funding, LLC                              MCINTOSHFIN
PO Box 10587                                   Resurgent Capital Services                     6740 Shannon Parkway
Greenville, SC 29603-0587                      PO Box 10587                                   Union City, GA 30291-2057
                                               Greenville, SC 29603-0587


MERCURY CARD/FB&T/TSYS                         Olivia R. Mooney                               Albert F. Nasuti
2220 6TH ST                                    The Semrad Law Firm, LLC                       Thompson, O’Brien, Kemp & Nasuti, PC
BROOKINGS, SD 57006-2403                       303 Perimeter Center North, 201                Suite 300
                                               Atlanta, GA 30346-3425                         40 Technology Parkway South
                                                                                              Peachtree Corners, GA 30092-2924

Office of the Attorney General - Atlanta       PRA Receivables Management, LLC                Premier Bankcard, Llc
40 Capitol Sq Sw                               PO Box 41021                                   Jefferson Capital Systems LLC Assignee
Attn: Karrollanne K. Cayce                     Norfolk, VA 23541-1021                         Po Box 7999
Atlanta, GA 30334-9057                                                                        Saint Cloud Mn 56302-7999


SYNCB/GAP                                      Special Assistant U.S. Attorney                Synchrony Bank
PO BOX 965005                                  401 W. Peachtree Street, NW, STOP 1000-D       c/o PRA Receivables Management, LLC
ORLANDO, FL 32896-5005                         Suite 600                                      PO Box 41021
                                               Atlanta, GA 30308                              Norfolk, VA 23541-1021


TD BANK USA, N.A.                              TD BANK USA/TARGETCRED                         Mary Ida Townson
C O WEINSTEIN & RILEY, PS                      PO Box 660170                                  Chapter 13 Trustee
2001 WESTERN AVENUE, STE 400                   Dallas, TX 75266-0170                          Suite 2200
SEATTLE, WA 98121-3132                                                                        191 Peachtree Street, NE
                                                                                              Atlanta, GA 30303-1770
               Case 19-55207-sms             Doc 20       Filed 05/30/19         Entered 05/30/19 15:11:32              Desc Main
UNITED STATES DEPARTMENT OF EDUCATION                US DEPT OF ED/GLELSI Page 16 of 16
                                                        Document                                          United States Attorney
CLAIMS FILING UNIT                                   2401 Internal Lane                                   Northern District of Georgia
PO BOX 8973                                          Attn: Chhengre Lim                                   75 Ted Turner Drive SW, Suite 600
MADISON, WI 53708-8973                               Madison, WI 53704-3121                               Atlanta GA 30303-3309


United States Attorney’s Office                      David C. Whitridge
75 Spring Street, S.W., Suite 600                    Thompson, O’Brien, Kemp & Nasuti, PC
U.S. Courthouse                                      Suite 300
Atlanta, GA 30303-3309                               40 Technology Parkway South
                                                     Peachtree Corners, GA 30092-2924



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CAPITAL ONE BANK USA N                               Georgia Department of Revenue
PO BOX 85520                                         1800 Century Blvd
RICHMOND, VA 23285                                   Suite 17200
                                                     Atlanta, GA 30345




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Associated Credit Union                           End of Label Matrix
                                                     Mailable recipients    34
                                                     Bypassed recipients     1
                                                     Total                  35
